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       UNITED STATES BANKRUPTCY COURT
       DISTRICT OF NEW JERSEY
       Caption in Compliance with D.N.J. LBR 9004-1(b)
                                                                             Order Filed on May 6, 2020
       RIKER, DANZIG, SCHERER, HYLAND &                                      by Clerk,
       PERRETTI LLP                                                          U.S. Bankruptcy Court
       Joseph L. Schwartz (JS-5525)                                          District of New Jersey
       Tara J. Schellhorn (TS-8155)
       Headquarters Plaza, One Speedwell Avenue
       Morristown, NJ 07962-1981
       Telephone: (973) 583-0800

       -and-
       PACHULSKI STANG ZIEHL & JONES LLP
       Bradford J. Sandler (NJ Bar No. BS-1367)
       Shirley S. Cho (admitted pro hac vice)
       780 Third Avenue, 34th Floor
       New York, NY 10017

       Counsel to the Liquidating Trust


       In re:                                                     Chapter 11
       FRANK THEATRES BAYONNE/SOUTH COVE,
       LLC, et al.,1                                              Case No. 18-34808 (SLM)
                                                                  (Jointly Administered)

                                          Debtors.




     ORDER GRANTING LIQUIDATING TRUST’S FIFTH OMNIBUS OBJECTION TO CLAIMS
          SEEKING TO DISALLOW AND EXPUNGE CERTAIN SATISFIED CLAIMS

           The relief set forth on the following pages, number two (2) through and including four (4),

     is hereby ORDERED:
     Date: May 6, 2020



 1 The Post-Confirmation Debtors in these chapter 11 cases and the last four digits of each Debtor’s taxpayer
 identification number are as follows: Frank Theatres Bayonne/South Cove, LLC (3162); Frank All Star Theatres, LLC
 (0420); Frank Theatres Kingsport LLC (5083); Frank Theatres Montgomeryville, LLC (0692); Frank Theatres Rio,
 LLC (1591); Frank Theatres Towne, LLC (1528); Frank Theatres Mt. Airy, LLC (7429); Frank Theatres Sanford,
 LLC (7475); Frank Theatres Shallotte, LLC (7548); Revolutions at City Place LLC (6048); Revolutions of Saucon
 Valley LLC (1135); Frank Entertainment Rock Hill LLC (0753); Frank Entertainment PSL, LLC (7033); Frank
 Hospitality Saucon Valley LLC (8570); and Galleria Cinema, LLC (2529).


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 Debtors:  Frank Theatres Bayonne/South Cove, LLC, et al.
 Case No.: 18- 34808 (SLM)
 Caption: Order Granting Liquidating Trust’s Fifth Omnibus Objection to Claims Seeking to
           Disallow and Expunge Certain Satisfied Claims


         Upon the fifth omnibus objection (the “Omnibus Objection”)2 of the Liquidating Trust in

 the above-captioned Chapter 11 Cases seeking entry of an order, pursuant to sections 105(a) and

 502 of the Bankruptcy Code, Bankruptcy Rule 3007, and Local Rules 3007-1, disallowing and

 expunging or reducing, as applicable, each of the claims set forth on Schedule 1 hereto because

 each such claim has been paid and/or otherwise satisfied, in whole or in part; and the Court having

 jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and 1334; and venue being proper

 before the Court pursuant to 28 U.S.C. §§ 1408 and 1409; and consideration of the Omnibus

 Objection being a core proceeding pursuant to 28 U.S.C. § 157(b); and it appearing that proper

 and adequate notice of the Omnibus Objection has been given and that no other or further notice

 is necessary; and upon the record herein; and the Court having determined that the relief sought

 by the Omnibus Objection is in the best interests of the Liquidating Trust, the estates, and creditors;

 and after due deliberation and good and sufficient cause appearing therefor;

 IT IS HEREBY ORDERED THAT:

                  The Omnibus Objection is GRANTED as set forth herein.

                  The Satisfied Claims listed on Schedule 1 to this Order are disallowed and

 expunged in their entirety or reduced to the “Remaining Claim Amount,” as applicable.

                  The rights of the Liquidating Trust to object in the future to any of the claims that

 are the subject of the Omnibus Objection on any grounds, and to amend, modify, and/or



 2
  Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Omnibus
 Objection.
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 supplement the Omnibus Objection, including, without limitation, to object to amended or newly

 filed claims is hereby reserved. Without limiting the generality of the foregoing, the Liquidating

 Trust specifically reserves the right to amend the Omnibus Objection, file additional papers in

 support of the Omnibus Objection, or take any other appropriate actions, including to (a) respond

 to any allegation or defense that may be raised in a response filed in accordance with the Omnibus

 Objection by or on behalf of any of the claimants or other interested parties; (b) object further to

 any Satisfied Claim for which a claimant provides (or attempts to provide) additional

 documentation or substantiation; and (c) objection further to any Satisfied Claim based on

 additional information that may be discovered upon further review by the Liquidating Trust or

 through discovery pursuant to the applicable provisions of the Bankruptcy Rules.

                 For the avoidance of doubt, nothing in the Omnibus Objection or this Order shall

 be deemed or construed to (a) constitute an admission as to the validity or priority of any claim

 against the Liquidating Trust, (b) an implication or admission that any particular claim is of a type

 specified or defined in this Order or the Omnibus Objection, and/or (c) constitute a waiver of the

 Liquidating Trust’s rights to dispute any claim on any grounds.

                 The Liquidating Trust, its claims and noticing agent (Prime Clerk LLC), and the

 Clerk of this Court are authorized to take any and all actions that are necessary or appropriate to

 give effect to this Order.

                 The objection to each claim addressed in the Omnibus Objection and as set forth

 on Schedule 1 attached hereto, constitutes a separate contested matter as contemplated by

 Bankruptcy Rule 9014. This Order shall be deemed a separate order with respect to each claim
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 that is the subject of the Omnibus Objection and this Order. Any stay of this Order pending appeal

 by any claimants whose claims are subject to this Order shall only apply to the contested matter

 that involves such claimant and shall not stay the applicability and/or finality of this Order with

 respect to any other contested matters addressed in the Omnibus Objection and this Order.

                 The requirement set forth in Local Rule 9013-1(a)(3) that any motion or other

 request for relief be accompanied by a memorandum of law is hereby deemed satisfied by the

 contents of the Omnibus Objection or otherwise waived.

                 Notwithstanding any applicability of any of the Bankruptcy Rules, the terms and

 conditions of this Order shall be immediately effective and enforceable upon its entry.

                 The Court retains exclusive jurisdiction with respect to all matters arising from or

 related to the implementation of this Order.




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                                                             Schedule 1
                                         FRANK THEATRES BAYONNE/SOUTH COVE, LLC, et al.
                                                             Paid Claims




  Proof Of
 Claim No./                                                                   Asserted       Paid
                                          Name of Claimant
 Scheduled                                                                    Amount        Amount
    No.
                  Annapurna Pictures
                  c/o Peter J. Gurfein
       31                                                                    $134,471.83   $14,006.19
                  1801 Century Park East, Suite 700
                  Los Angeles, CA 90067
                  Entertainment Supply & Technologies
                  3820 Northdale Blvd
      128                                                                     $51,592.52   $35,000.00
                  Suite 308B
                  Tampa, FL 33624
                  SONY PICTURES ENTERTAINMENT
    862387        PO BOX 840550                                               $32,689.89   $8,402.42
                  DALLAS, TX 75284-0550




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  Proof Of
 Claim No./                                                         Asserted       Paid
                                Name of Claimant
 Scheduled                                                          Amount        Amount
    No.
              UNIVERSAL FILM EXCHANGES, LLC
    862547    PO BOX 848270                                         $35,936.52   $75,936.52
              DALLAS, TX 75284-8270


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